                           Case 1:10-cv-03473-CCB Document 7 Filed 01/31/11 Page 1 of 2
                                           UNITED STATES DISTRICT COURT
                                                     OFFICE OF THE CLERK
                                               DISTRICT OF MARYLAND
Felicia C. Cannon, Clerk                                                             Reply to Northern Division Address

                                                    January 31,2011

      Andrea Olshin
      20239 Locust Grove
      Rohresville, MD 21779

                 RE:        Olshin v. FMS, Incorporated
                            Civil No. CCB-10-3473

      Dear Ms. 01shin:

              The Defendant(s) has filed a motion to dismiss or for summary judgment. If this motion is
      granted, it could result in the dismissal of your case or the entry of judgment against you.

              You have the right to file a response to this motion within seventeen (17) days from the date
      of this letter. Your response should respond to and explain the facts or matters stated in the motion, but
      please note that Local Rule 105.3 limits the length of a memorandum to 25 pages, excluding affidavits,
      exhibits, and attachments. If appropriate, your response may include affidavits (statements made under
      oath); declarations (statements made subject to the penalty of perjury under 28 U.S.c. S 1746); or other
      materials contesting the affidavits, declarations, or records filed by the defendant(s).

              You must send a copy of all materials filed in your response to all other parties or, if
      represented, to their attorneys. Please include a certificate of service with the response you file with
      this Court. Your certificate of service should state that you mailed a copy of your response to them, how
      you mailed the copy, and when you mailed the copy.

             If you do not file a timely written response, the Court may dismiss the case or enter
      judgment against you without further notice. For your reference, a copy of Federal Civil Rules 12
      and 56, which govern a motion to dismiss or summary judgment, are attached to this letter.

                                                                Sincerely,

                                                                FELICIA C. CANNON, CLERK


                                                          By:

      Enclosures
      cc:    Opposing Counsel

      U.s. District Court (Rev. OS/2010)
                              Case 1:10-cv-03473-CCB
Rule 12. Defenses and Objections: When and How                  Document
                                             before filing a responsive          7 must
                                                                        pleading and Filed
                                                                                        point 01/31/11
                                                                                              out          Page 2Liability.
                                                                                                    (2) Establishing of 2 An interlocutory
Presented; Motion for Judgment on the Pleadings;            the defects complained of and the details desired. If the    summary judgment may be rendered on liability
Consolidating Motions; Waiving Defenses; Pretrial           court orders a more definite statement and the order is      alone, even if there is a genuine issue on the amount
Hearing                                                     not obeyed within 14 days after notice of the order or       of damages.
(a) TIME TO SERVE A RESPONSIVE                              within the time the court sets, the court may strike the     (e) AFFIDAVITS;         FURTHER TESTIMONY.            (I)
PLEADING. (I) In General. Unless another time is            pleading or issue any other approptiiate order.              In General. A supporting or opposing affidavit must
specified by this rule or a federal statute. the time for   (t) MOTION TO STRIKE. The court may strike from              be made on personal knowledge, set out facts that
serving a responsive pleading is as follows:                a pleading an insufficient defense or any redundant,         would be admissible in evidence, and show that the
(A) A defendant must serve an answer: (i) within 21         immaterial, impertinent, or scandalous matter. The           affiant is competent to testifY on the matters stated.
days after being served with the summons and                court may act: (I) on its own; or (2) on motion made         If a paper or part of a paper is referred to in an
complaint; or (ii) ifit has timely waived service           by a party either before responding to the pleading or,      affidavit, a sworn or certified copy must be attached
under Rule 4( d), within 60 days after the request for      if a response is not allowed, within 21 days after being     to or served with the affidavit. The court may permit
a waiver was sent, or within 90 days after it was sent      served with the pleading.                                    an affidavit to be supplemented or opposed by
to the defendant outside any judicial district of the       (g) JOINING MOTIONS. (I) Right to Join. A                    depositions, answers to interrogatories, or additional
United States. (B) A party must serve an answer to a        motion under this rule may be joined with any other          affidavits. (2) Opposing party's Obligation to
counterclaim or crossclaim within 21 days after             motion allowed by this rule. (2) Limitation on Further       Respond. When a motion for summary judgment is
being served with the pleading that states the              Motions. Except as provided in Rule 12(h)(2) or (3), a       properly made and supported, an opposing party
counterclaim or crossclaim. (C) A party must serve          party that makes a motion under this rule must not           may not rely merely on allegations or denials in its
a reply to an answer within 21 days after being             make another motion under this rule raising a defense        own pleading; rather, its response must - by
served with an order to reply, unless the order             or objection that was available to the party but omitted     affidavits or as otherwise provided in this rule - set
specifies a different time. (2) United States and Its       from its earlier motion.                                     out specific facts showing a genuine issue for trial.
Agencies, Officers, or Employees Sued in an                 (h) WAIVING AND PRESERVING                 CERTAIN           If the opposing party does not so respond, summary
Official Capacity. The United States, a United States       DEFENSES. (I) When Some Are Waived. A party                  judgment should, if appropriate, be entered against
agency, or a United States officer or employee sued         waives any defense listed in Rule 12(b)(2)-(5) by: (A)       that party.
only in an official capacity must serve an answer to        omitting it from a motion in the circumstances               (t) WHEN AFFIDAVITS ARE UNAVAILABLE.
a complaint, counterclaim, or crossclaim within 60          described in Rule 12(g)(2); or (B) failing to either: (i)    If a party opposing the motion shows by affidavit
days after service on the United States attorney. (3)       make it by motion under this rule; or (ii) include it in a   that, for specified reasons, it cannot present facts
United States Officers or Employees Sued in an              responsive pleading or in an amendment allowed by            essential to justifY its opposition, the court may: (I)
Individual Capacity. A United States officer or             Rule 15(a)(I) as a matter of course. (2) When to Raise       deny the motion; (2) order a continuance to enable
employee sued in an individual capacity for an act          Others. Failure to state a claim upon which relief can       affidavits to be obtained, depositions to be taken, or
or omission occurring in connection with duties             be granted, to join a person required by Rule 19(b), or      other discovery to be undertaken; or (3) issue any
performed on the United States' behalf must serve           to state a legal defense to a claim may be raised: (A) in    other just order.
an answer to a complaint, counterclaim, or                  any pleading allowed or ordered under Rule 7(a); (B)         (g) AFFIDAVITS SUBMITTED IN BAD FAITH.
crossclaim within 60 days after service on the              by a motion under Rule 12(c); or (C) at trial. (3) Lack       If satisfied that an affidavit under this rule is
officer or employee or service on the United States         of Subject-Matter Jurisdiction. If the court determines      submitted in bad faith or solely for delay, the court
attorney, whichever is later. (4) Effect ofa Motion.        at any time that it lacks subject-matter jurisdiction, the   must order the submitting party to pay the other
Unless the court sets a different time, serving a           court must dismiss the action.                               party the reasonable expenses, including attorney's
motion under this rule alters these periods as              (i) HEARING BEFORE TRIAL. If a party so moves,                fees, it incurred as a result. An offending party or
follows: (A) if the court denies the motion or              any defense listed in Rule 12(b)( I )-(7}-whether     made   attorney may also be held in contempt.
postpones its disposition until trial, the responsive       in a pleading or by motion-and       a motion under Rule     (As amended Dec. 27,1946, eff. Mar. 19,1948; Jan.
pleading must be served within 14 days after notice          12(c) must be heard and decided before trial unless the     21, 1963, eff. July I, 1963; Mar. 2, 1987, eff. Aug.
of the court's action; or (B) if the court grants a         court orders a deferral until trial.                          1,1987; Apr. 30,2007, eff. Dec. 1,2007; eff. Dec.
motion for a more definite statement, the responsive        (As amended Dec. 27,1946, eff. Mar. 19, 1948; Jan.            1,2009)
pleading must be served within 14 days after the            21, 1963, eff. July I, 1963; Feb. 28, 1966, eff. July I,
more definite statement is served.                           1966; Mar. 2, 1987, eff. Aug. I, 1987; Apr. 22, 1993,       28 USC ~ 1746. Unsworn declaration under
(b) HOW TO PRESENT DEFENSES. Every                          eff. Dec. I, 1993; Apr. 17,2000, eff. Dec. 1,2000;           penalty of perjury.
defense to a claim for relief in any pleading must be       Apr. 30,2007, eff. Dec. 1,2007; eff. Dec. 1,2009.)           Wherever, under any law of the United States or
asserted in the responsive pleading if one is required.                                                                  under any rule, regulation, order, or requirement
 But a party may assert the following defenses by            Rule 56. Summary Judgment                                   made pursuant to law, any matter is required or
motion: (I) lack of subject-matter jurisdiction; (2)        (a) BY A CLAIMING PARTY. A party claiming                    permitted to be supported, evidenced, established, or
lack of personal jurisdiction; (3) improper venue; (4)      relief may move, with or without supporting affidavits,      proved by the sworn declaration, verification,
insufficient process; (5) insufficient service of           for summary judgment on all or part of the claim.            certificate, statement, oath, or affidavit, in writing of
process; (6) failure to state a claim upon which relief     (b) BY A DEFENDING PARTY. A party against                    the person making the same (other than a deposition,
can be granted; and (7) failure to join a party under       whom relief is sought may move, with or without              or an oath of office, or an oath required to be taken
Rule 19. A motion asserting any of these defenses           supporting affidavits, for summary judgment                  before a specified official other than a notary
must be made before pleading if a responsive                (c) TIME FOR A MOTION, RESPONSE, AND                         public), such matter may, with like force and effect,
pleading is allowed. If a pleading sets out a claim for     REPLY; PROCEEDINGS.              (I) These times apply       be supported, evidenced, established, or proved by
relief that does not require a responsive pleading, an      unless a different time is set by local rule or the court    the unsworn declaration, certificate, verification, or
opposing party may assert at trial any defense to that      orders otherwise: (A) a party may move for summary           statement, in writing of such person which is
claim. No defense or objection is waived by joining it      judgment at any time until 30 days after the close of all    subscribed by him, as true under penalty of peIjury,
with one or more other defenses or objections in a          discovery; (B) a party opposing the motion must file a       and dated, in substantially the following form: (I)
responsive pleading or in a motion.                         response within 21 days after the motion is served or a      If executed without the United States: "I declare (or
(c) MOTION FOR JUDGMENT                ON THE               responsive pleading is due, whichever is later; and (C)      certifY, verifY, or state) under penalty ofpeIjury
PLEADINGS. After the pleadings are closed-but               the movant may file a reply within 14 days after the         under the laws of the United States of America that
early enough not to delay trial-a party may move for        response is served. (2) The judgment sought should be        the foregoing is true and correct. Executed on (date).
judgment on the pleadings.                                  rendered if the pleadings, the discovery and disclosure      (Signature) (2) If executed within the United
(d) RESULT OF PRESENTING               MATTERS               materials on file, and any affidavits show that there is    States, its territories, possessions, or
 OUTSIDE THE PLEADINGS. If, on a motion                     no genuine issue as to any material fact and that the        commonwealths: "I declare (or certifY, verifY, or
 under Rule 12(b)(6) or 12(c), matters outside the          movant is entitled to judgment as a matter of law.           state) under penalty of peIjury that the foregoing is
 pleadings are presented to and not excluded by the         (d) CASE NOT FULLY ADJUDICATED                  ON THE       true and correct. Executed on (date). (Signature)
 court, the motion must be treated as one for summary       MOTION. (I) Establishing Facts. If summary judgment          (Added Pub. L. 94-550, gl(a), Oct. 18, 1976,90
judgment under Rule 56. All parties must be given a         is not rendered on the whole action, the court should, to    Stat. 2534.)
 reasonable opportunity to present all the material that    the extent practicable, determine what material facts are
 is pertinent to the motion.                                not genuinely at issue. The court should so determine by
(e) MOTION FOR A MORE DEFINITE                              examining the pleadings and evidence before it and by
STATEMENT.          A party may move for a more definite    interrogating the attorneys. It should then issue an order
statement of a pleading to which a responsive pleading      specifYing what facts - including items of damages or
is allowed but which is so vague or ambiguous that the      other relief - are not genuinely at issue. The facts so
party cannot reasonably prepare a response. The motion      specified must be treated as established in the action.
must be made
